
17 N.Y.2d 510 (1966)
The People of the State of New York, Appellant,
v.
Nils Kvalheim, Respondent.
Court of Appeals of the State of New York.
Argued January 11, 1966.
Decided January 20, 1966.
Aaron E. Koota, District Attorney (Michael Schwartz of counsel), for appellant.
Edward O. Howard and Anthony F. Marra for respondent.
Concur: Chief Judge DESMOND and Judges FULD, VAN VOORHIS, BURKE, SCILEPPI, BERGAN and KEATING.
Order affirmed. Dismissal of the complaint (instead of remission for a new arraignment) was proper here since defendant had already served his sentence of imprisonment (People v. Witenski, 15 N Y 2d 392). Since appellant appeals from that part only of the order which dismisses the complaint we make no determination as to the correctness of so much of the Appellate Term decision as holds that defendant was not properly informed of his rights.
